Case: 4:23-cv-01548-CDP          Doc. #: 34       Filed: 05/15/24    Page: 1 of 7 PageID #: 788




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

MICHAEL CARTER, et al.,                       )
                                              )
               Plaintiffs,                    )       Case No. 4:23-cv-01548-CDP
                                              )
v.                                            )
                                              )
THE CITY OF ST. LOUIS,                        )
                                              )
                                              )
               Defendant.                     )

             DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS
                   PLAINTIFFS’ FIRST AMENDED COMPLAINT

        COMES NOW Defendant City of St. Louis (“City”) and submits this brief reply to

Plaintiff’s Memorandum of Law in Opposition to City’s Motion to Dismiss The First Amended

Complaint (“Opposition”). In their Opposition, Plaintiffs largely state facts that are not supported

by Plaintiffs’ First Amended Complaint (“FAC”). Further, Plaintiffs erroneously makes a number

of legal conclusions that are both unresponsive to City’s Motion to Dismiss and not supported by

Plaintiffs’ FAC. Consequently, City again asks this Court to grant its Motion to Dismiss Plaintiffs’

FAC because Plaintiffs fail to state any claim upon which relief can be granted. In support of this

reply, Defendant states:

                                             ARGUMENT

     A. Count I fails to allege sufficient factual matter to state a claim upon which relief can

        be granted under the FLSA.

     Plaintiffs’ Opposition states Medrano v. United States “does not support dismissal and is

analyzing pre and post shift activity for which employees were not paid, but believed they should

be paid”. Opposition p. 2. However, Medrano is appropriate because the edited time sheets



                                                  1
Case: 4:23-cv-01548-CDP          Doc. #: 34      Filed: 05/15/24      Page: 2 of 7 PageID #: 789




Plaintiffs allege are a result of post-shift activity that must be approved and validated by

management. Falsified or unapproved hours were amended by Refuse management as policy

requires. Medrano is applicable because Plaintiffs’ FAC does not specify amended hours, or which

Plaintiffs, if any, were impacted. Even if Plaintiffs’ principal activities include operating and

maintaining heavy equipment used in refuse storage, collection, and disposal, confirming and

amending hours is proper under Refuse policy. Plaintiffs have not met the standard of establishing

that the uncompensated functions at issue are part of their principal activities. For these reasons,

Count I is not sufficiently plead and should be dismissed.

   B. Count II fails because there is not sufficient factual matter to state a claim for which

       relief can be granted under the FLSA for retaliation.

   Plaintiffs claim in their opposition that the City altered its established overtime policy which

is misinformed. Enforcing a policy already in effect is neither altering a policy nor does it satisfy

a retaliation claim. With discrimination claims, the employer need only produce evidence that it

had a nonretaliatory reason for its conduct; e.g., performance problems or misconduct. Blomker v.

Jewell, 831 F.3d 1051, 1059 (8th Cir. 2016). “Disrespectful behavior” to a named plaintiff by a

foreman is not a direct correlation to this lawsuit and allowing a less senior driver to have an

available vehicle to drive is not retaliatory. Disrespectful behavior is not considered abusive

language. A “breach of seniority status” as Plaintiffs allege in their Opposition implies a duty or

contract requirement, when there is not. These are not causal connections as defined by the 8th

Circuit. Wells v. SCI Mgmt., L.P., 469 F.3d 697, 702 (8th Cir. 2006).

       Plaintiffs’ Opposition states in a conclusory fashion that the timing between filing their

Petition in October 2023 and any alleged issues (which Defendants do not concede are actual

adverse employment actions) in January, February and March 2024 is sufficient to establish a



                                                 2
Case: 4:23-cv-01548-CDP          Doc. #: 34       Filed: 05/15/24     Page: 3 of 7 PageID #: 790




“causal connection” establishing retaliation. Actions three, four, and five months later, even if they

were adverse, do not establish any temporal proximity or “causal connection” on their own. If an

adverse action occurs “months” after the protected activity, there can be no inference of causation.

Tyler v. Univ. of Ark. Bd. Of Trs., 628 F.3d 980, 986-87 (8th Cir. 2011), see also Trammel v.

Simmons First Bank of Searcy, 345 F.3d 611, 616 (8th Cir. 2003). Count II is not sufficiently plead

and should be dismissed.

   C. Count III fails because the statute relied on is inapplicable to City of St. Louis

       employees and as a matter of law, Plaintiffs’ wages have been increased, not

       decreased, prior to the filing of their First Amended Complaint.

   Plaintiffs do not factually allege that their wages were specifically reduced, the date any wage

reduction was made effective, or how much they claim their wages were reduced. Moreover,

Plaintiffs’ claims are implausible on their face and Plaintiffs’ hypothetical math example in their

Opposition is not a statutory calculation for properly amended hours, if any. Plaintiffs conflate in

their Opposition reducing a wage with reducing the number of hours compensated, which are two

entirely separate fact patterns and highlights the fundamental inaccuracies in their FAC and the

purpose of specific pleading requirements. The City of St. Louis has the authority to reduce the

wages of its employees by repealing a current pay ordinance and passing a new one. Sanders v.

City of St. Louis, 303 S.W.2d 925, 930 (Mo. 1957). There are no facts alleged to support

underpayment in violation of the City’s ordinance. Therefore, Count III must be dismissed for

failure to state a claim upon which relief can be granted.

   D. Count IV fails to allege sufficient factual matter to state a claim upon which relief

       can be granted under the Missouri Minimum Wage Law.

   For the reasons listed above, Defendant maintains Plaintiffs have failed to state a claim for



                                                  3
Case: 4:23-cv-01548-CDP          Doc. #: 34      Filed: 05/15/24     Page: 4 of 7 PageID #: 791




municipal liability. “Missouri law regulating overtime compensation is to be interpreted in

accordance with the Fair Labor Standards Act.” Id. Plaintiffs conclusory claims that they “worked

more than forty (40) hours in workweeks during times relevant to this complaint” are insufficient

to withstand a motion to dismiss. First Amended Complaint, ¶ 76. Plaintiffs do not allege which

weeks or which plaintiffs worked over 40 hours. Plaintiffs do not allege facts to substantiate their

conclusory allegations that Defendant had knowledge that Plaintiffs worked more than 40 hours

per week. Plaintiffs do not allege that they reported their time accurately, or what activities they

claim to have been performing during this allegedly uncompensated time. Accordingly, Count IV

fails to state a claim upon which relief may be granted and must be dismissed.


   E. Defendant agrees with Plaintiffs that Count V be dismissed as there is no “private

       right of action under the City’s Charter.

   Plaintiffs imply the City intentionally did not inform the Court of the Lynch case’s current

posture. That is not the case. However, City agrees with and acknowledges Plaintiff’s voluntary

dismissal of Count V.

   F. Count VI must be dismissed because Plaintiffs fail to state a claim for municipal

       liability under 42 USC § 1983.

   Plaintiffs’ are mistaken in their Opposition claiming Defendant is liable for all of its

employees’ actions. More importantly, Plaintiffs fail to plead facts identifying an official policy

that directly caused their alleged constitutional injuries. City of Canton v. Harris, 489 U.S. 378,

385 (1989). An official policy involves “a deliberate choice to follow a course off action made

from among various alternatives by an official who is determined by state law to have the final

authority to establish governmental policy.” Ware v. Jackson County, Mo., 150 F.3d 873, 880 (8th

Cir. 1998). A policy may take the form of a policy statement, local ordinance, regulation, or

                                                 4
Case: 4:23-cv-01548-CDP          Doc. #: 34      Filed: 05/15/24      Page: 5 of 7 PageID #: 792




decision officially adopted and promulgated by a local government’s officers. Monell, 436 U.S. at

690. Under the second element, a municipality may not be held liable on the basis of custom unless

there is “a pattern of ‘persistent and widespread’ unconstitutional practices which became so

‘permanent and well settled’ as to have the effect and force of law.” Monell at 691. Here, Plaintiff

pleads no facts to show that a City policymaker with final authority officially adopted and

promulgated a policy statement or decision directing Refuse employees to change an overtime

policy, but to enforce an existing overtime policy. Plaintiffs use legal conclusions that Timothy

Banta “knowingly, willfully, and with reckless disregard, carried out an improper pattern of failing

to pay Plaintiffs for all hours worked and proper overtime compensation”. FAC, ¶ 26. The six

instances Plaintiffs claim in FAC ¶ 34 are not violative or indicative of conduct requiring municipal

liability. The list of six dates in a three-month span are generalized unsupported claims without

specificity to even know which Plaintiffs each date may apply to. The alleged grievances in FAC

¶ 34 and ¶ 37 are not similar, as ¶ 34 relates to pay and ¶ 37 relates to racial groups. Plaintiffs

allege overtime policies have an effect on a protected class when there is no correlation to those

separate protections. Accordingly, Count VI is not sufficiently plead and should be dismissed.

   G. Count VII, Plaintiffs' breach of contract claim fails.

       Plaintiffs allege the City breached the Collective Bargaining Agreement, but specifically

alleges only the City and a labor union, not Plaintiffs, are parties to the agreement. First Am.

Compl. ¶ 110. Plaintiffs do not allege that they are parties or third-party beneficiaries to the

contract. Plaintiffs Opposition claims RSMo. § 432.070 or the City’s Charter are not elements for

breach of contract, but there is no contract between the City and Plaintiffs for the same reasons.

Plaintiffs do not allege that the collective bargaining agreement meets the requirements of RSMo.

§ 432.070 or the City’s Charter, therefore barring Count VII and it must be dismissed.



                                                 5
Case: 4:23-cv-01548-CDP           Doc. #: 34      Filed: 05/15/24      Page: 6 of 7 PageID #: 793




   H. Defendant is Entitled to Costs and Attorneys’ Fees

     If the Court grants Defendant’s Motion to Dismiss in whole or in part, it should award

Defendant their reasonable costs and attorney fees associated with the filing of this motion in

accordance with FRCP 54. Where, as here, a plaintiff’s lawsuit is “frivolous, unreasonable, or

without foundation” the prevailing defendant is entitled not only to its costs but also to its attorney

fees. Fox v. Vice, 563 U.S. 826, 833 (2011). Plaintiffs have already conceded at least one count

(Count V) is without foundation and Defendant argues the remaining counts are equally frivolous,

unreasonable and without foundation. In the event the Court grants Defendant’s Motion to

Dismiss, Defendant requests leave to file a bill of costs and fees, together with supporting

affidavits, within fourteen days of the entry of the Court’s Order.

                                                 Conclusion

     Plaintiffs’ First Amended Complaint fails to state a claim upon which relief may be granted

in each and every count. Further, even if they had been adequately pleaded, Plaintiffs’ claims

largely fail as a matter of law. Therefore, Plaintiffs’ First Amended Complaint should be

dismissed.

     WHEREFORE, The Court should dismiss Plaintiffs’ First Amended Petition, as Plaintiffs

failed to state a claim upon which relief can be granted. Defendant prays the Court rule in favor of

Defendant and for such other relief as the Court may deem just and proper under the circumstances.




                                               Respectfully submitted,

                                               SHEENA HAMILTON
                                               CITY COUNSELOR

                                               /s/ Sarah Beamer
                                               Alexis Silsbe #64637 (MO)

                                                  6
Case: 4:23-cv-01548-CDP   Doc. #: 34     Filed: 05/15/24   Page: 7 of 7 PageID #: 794




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                                         7
